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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

  CHRISTINE BRYANT on behalf of herself              )
  and all other persons similarly situated, known    )
  and unknown,                                       )
                                                     )
                Plaintiff,                           )     Case No. 1:19-cv-06622
                                                     )
        vs.                                          )     Honorable Virginia M. Kendall
                                                     )
  COMPASS GROUP USA, INC. and 365                    )
  RETAIL MARKETS, LLC,                               )
                                                     )
                Defendants.                          )

                             PRELIMINARY APPROVAL ORDER

       This matter having come before the Court on Plaintiff’s Unopposed Motion for Preliminary

Approval of Class Action Settlement (“the Motion”), the Court having reviewed and considered

the Motion, the supporting Memorandum of Law and attached exhibits, including the Class Action

Settlement Agreement (“Settlement” or “Settlement Agreement”) and its attachment, and the

Court being fully advised in the premises,

       IT IS ORDERED AS FOLLOWS:

       1.      Capitalized terms not defined in this Order are defined in the Parties’ Settlement

Agreement.

       2.      The Court finds, on a preliminary basis, that the Settlement is fair, reasonable, and

adequate.

       3.      The Settlement Agreement was negotiated at arm’s-length between counsel for the

Parties who are experienced in class action litigation.

       4.      The Court finds, on a preliminary basis, that Settlement Class Counsel adequately

represented the proposed Settlement Class Members, which are defined as follows:
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       All individuals who scanned their finger(s) in one or more of Defendants’ vending
       systems in Illinois between August 23, 2014 and preliminary approval without first
       executing a written consent (“the Settlement Class” or “Settlement Class
       Members”). Excluded from the Settlement Class are persons who timely elect to
       exclude themselves, the Court and staff to whom this case is assigned, and any
       member of the Court’s or its staff’s immediate families.

       5.      The Court finds that distribution of notice to the proposed Settlement Class

Members is justified because Plaintiff has shown that the Court will likely be able to (i) approve

the Settlement under Rule 23(e)(2) and (ii) certify the proposed class for purposes of settlement.

       6.      For settlement purposes only, the Court appoints Christine Bryant as the Settlement

Class Representative.

       7.      For settlement purposes only, the Court appoints as Settlement Class Counsel:

                                     Douglas M. Werman
                                    Zachary C. Flowerree
                                     Werman Salas P.C.
                                  77 West Washington Street
                                         Suite 1402
                                      Chicago, IL 60602
                                       (312) 419-1008

       8.      The Court appoints Analytics Consulting LLC as the Settlement Administrator to

perform all duties described in the Settlement Agreement and ordered by this Court.

       9.      The Court finds that distribution of the proposed Notice of Class Action Settlement

and accompanying Claim Form (“Notice”) by mail (where reasonably possible), text message

(where reasonably possible), email (where reasonably possible), and Facebook (where reasonably

possible) are the best practicable means of providing notice under the circumstances and, when

completed, shall constitute due and sufficient notice of the proposed Settlement and the Final

Approval Hearing to all persons affected by or entitled to participate in the Settlement, in full

compliance with the notice requirements of Fed. R. Civ. P. 23, due process, the Constitution of the

United States, and other applicable laws. The proposed Notice is accurate, objective, and

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informative. It provides Settlement Class Members with all of the information necessary to

evaluate the fairness of the Settlement and to make an informed decision regarding whether to

participate in the Settlement.

       10.     To be eligible to receive Settlement payments, Settlement Class Members must

complete and return or postmark for return a valid Claim Form as described in the Notice within

120 days from the date of Notice distribution.

       11.     Any Settlement Class Member may request to be excluded from the Settlement by

submitting a written request for exclusion to the Settlement Administrator as described in the

Notice within 120 days from the date of Notice distribution.

       12.     Any Settlement Class Member who excludes himself or herself from the Settlement

will not be entitled to any recovery under the Settlement and will not be bound by the Settlement

or have any right to object, appeal, or comment on it.

       13.     Any Settlement Class Member who does not request to be excluded from the

Settlement may object to the Settlement by submitting a written statement to the Settlement

Administrator as described in the Notice within 120 days from the date of Notice distribution.

       14.     Settlement Class Counsel shall file a motion for attorney fees, litigation costs,

settlement administration costs, and the Class Representative’s Service Award (“Fee Petition”)

within 60 days from the date of initial Notice distribution. The Settlement Administrator shall post

the Fee Petition on the Settlement website.

       15.     Settlement Class Counsel shall file a motion for final approval of the Settlement

within seven days of the final approval hearing. The motion for final approval shall include copies

of any objections submitted and identify any Settlement Class Members who have requested to be

excluded from the Settlement.



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       16.     The Court schedules a Final Approval Hearing for August 3, 2022 at 9:45

a.m. to consider, among other things, (1) whether to finally approve the Settlement; (2) whether to

approve Settlement Class Counsel’s request for attorney fees and litigation costs; (3) whether to

approve the Settlement Administrator’s costs; and (4) whether to approve the Class

Representative’s request for a Service Award. Settlement Class Members may, but are not required

to, appear at the Final Approval Hearing and request to speak in favor or against the Settlement.

Within at least ten days of the Final Approval Hearing, the Court will inform the Parties whether

the Final Approval Hearing will take place by phone or in Court. Within seven days of the Final

Approval Hearing, Settlement Class Counsel shall ensure the Settlement Administrator posts

the Final Approval Hearing details on the Settlement website.

       17.     The Final Approval Hearing may be postponed, adjourned, transferred, or

continued by order of the Court without further notice to Settlement Class Members. At or

following the Final Approval Hearing, the Court may enter a Final Judgment approving the

Settlement and entering a Final Approval Order in accordance with the Settlement that adjudicates

the rights of all Settlement Class Members.



Entered: _11/2/2021_______________                  __________________________
                                                    Hon. Virginia M. Kendall
                                                    United States District Judge




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